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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                 HUNTINGTON DIVISION


GENBIOPRO, INC.,

                             Plaintiff,

v.                                                CIVIL ACTION NO. 3:23-0058

MARK A. SORSAIA, in his official capacity
as Prosecuting Attorney of Putnam County and
PATRICK MORRISEY, in his official capacity
as Attorney General of West Virginia,

                             Defendants.


                                             ORDER

       Pending before the Court is Defendant Mark A. Sorsaia’s Rule 12(b)(1) and Rule 12(b)(6)

Motion to Dismiss for Failure to State a Claim (ECF No. 17) and Defendant Patrick Morrisey’s

Motion to Dismiss (ECF No. 19). The Court schedules a hearing concerning the issue of standing

for Monday, April 24, 2023 at 2:00 p.m. The Court will allot one hour for argument. Counsel

arguing the motions will appear in person.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented parties.



                                             ENTER:      April 13, 2023




                                             ROBERT C. CHAMBERS
                                             UNITED STATES DISTRICT JUDGE
